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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

RYEKEISHA JEFFERS                         *

       Plaintiff                          *

vs.                                       *       CIVIL ACTION NO: 16-CV-03683-JFM

RACQUEL HARRISON-BAILEY, et al            *

       Defendants                         *

*      *       *     *      *      *      *       *      *      *      *         *   *

                                          ORDER

       UPON CONSIDERATION of the foregoing Motion to Extend the Discovery Deadline,

any responses thereto, it is on this __________ day of ______________ 2017 hereby


       ORDERED that the Motion is GRANTED. It is further

       ORDERED, that the dates of the scheduling order are amended as follows:



       Discovery Deadline; submission of status report ………………………12/05/2017

       Requests for Admission …………………………………..12/15/2017

       Settlement Conference ………………………………12/21/2017

       Dispositive pretrial motions deadline …………………1/27/2018




                                                  _________________________________
                                                  Judge J. Frederick Motz
